          Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 1 of 18




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 CAMPAIGN LEGAL CENTER ET AL.,                   §
             PLAINTIFFS,                         §
                                                 §
 V.                                              §
                                                 §    CAUSE NO. 1:22-CV-92-LY                          EF
 JOHN B. SCOTT, [N HIS OFFICIAL                  §
 CAPACITY AS SECRETARY OF THE                    §
 STATE OF TEXAS,                                 §
                 DEFENDANT.                      §



                   FINDINGS OF FACT AND CONCLUSIONS OF LAW

       On May 9, 2022, the court called the above-referenced declaratory-judgment and injunctive

action for bench trial. Plaintiffs and Defendant John B. Scott, Secretary of the State of Texas (the

"Secretary") appeared by attorney. At issue is whether the Secretary violated the National Voter

Registration Act (the "Act") by refusing to release certain voter-registration records upon

Plaintiffs' request. The court consolidated Plaintiffs' motion for preliminary injunction (Doc. #20)

with the trial on the merits. See FED. R. Civ. P 65(a)(2). Having considered the briefing, arguments

of counsel, applicable law, and entire record in this case, the court makes the following findings

of fact and conclusions of law, ultimately concluding that the Secretary's refusal to disclose the

records violates the Act.' The court will award declaratory and mandatory-injunctive relief and

render final judgment by separate order.




         All findings of fact contained herein that are more appropriately considered conclusions
of law are to be so deemed. Likewise, any conclusion of law more appropriately considered a
finding of fact shall be so deemed.
            Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 2 of 18




                                        I.      BACKGROUND

        The parties do not dispute the underlying facts of this case. The court derives the following

summary from the record of evidence, which includes the exhibits to Plaintiffs' motion for

preliminary injunction, the Secretary's response, and Plaintiffs' reply.2

        In 2019, then Texas Secretary of State David Whitley issued Election Advisory No. 20 19-

02, which implemented a program aimed to remove suspected non-citizen voters from Texas voter

rolls. Under the program, Whitley' s office compared voter-registration data with driver' s-license

and identity-card data from the Texas Department of Public Safety ("DPS"). If an individual on

the voter-registration rolls previously provided documentation to DPS indicating non-citizenship,

Whitley's office added the individual's information to a database of suspected non-citizen voters.

Whitley' s office provided information from this database to local election officials, instructing the

officials to send notice letters to the individuals on the list and cancel their voter registrations if:

(1) the individual responded to the notice with information indicating non-citizenship; (2) the

individual failed to respond to the notice within 30 days; or (3) the notice was returned as

undeliverable with no forwarding information available.

        Civic-engagement organizations and affected Texans sued Whitley and other state officials

in 2019 (the "2019 Lawsuits"), arguing that the program largely affected newly naturalized voters

and illegally intimidated these voters into de-registering or not voting. See, e.g., Texas League of

United Latin Am. Citizens v. Whitley, No. CV SA-19-CA-074-FB, 2019 WL 7938511 (W.D. Tex.

Feb. 27, 2019).    The record from the 2019 Lawsuits illustrates the various shortcomings of

Whitley's program. Id. at * 1 ("Notwithstanding good intentions, the road to a solution was



        2
           At trial, the court accepted into evidence the parties' jointly prepared binder titled
"Record Evidence," which includes the parties' briefing on the motion for preliminary injunction
and all exhibits.

                                                   2
          Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 3 of 18




inherently paved with flawed results").      Whitley's office initially identified around 98,000

suspected non-citizen voters, but shortly after releasing the lists to local election officials, the

office "realiz[ed] that 25,000 names should not have been included." Id. The court characterized

the notice letters sent to suspected non-citizen votersmany of whom were, in fact, newly

naturalized U.S. citizensas "ham-handed and threatening correspondence from the state which

did not politely ask for information, but rather exemplifies the power of government to strike fear

and anxiety and to intimidate the least powerful among us." Id. Roughly a month after the program

began, election officials identified only 80 of the 98,000 suspected non-citizens as ineligible to

vote. Id. The court ultimately assessed Whitley's program as "a solution looking for a problem."

Id.

       The parties settled the 2019 Lawsuits pursuant to a written agreement (the "Settlement

Agreement"). The state defendants agreed to rescind Election Advisory 20 19-02 and instruct local

election officials to disregard the original lists of suspected non-citizen voters.      The state

defendants also agreed to modify the type of DPS data used for future voter-roll maintenance

programs, aiming to eliminate the type of stale information that previously flagged newly

naturalized voters as non-citizens. The state defendants further agreed that for any new database

created for similar purposes, DPS must send daily updates on changed citizenship status for any

individual included on the list. Finally, the state defendants agreed to provide notice to the

attorneys involved in the Settlement Agreement 10 days before sending local election officials

information from any new database of suspected non-citizen voters.

       On August 20, 2021, the Office of the Attorney General sent notice to the attorneys

involved in the Settlement Agreement that the Secretary had conducted a new data-matching

program with DPS and planned to send 11,197 records of suspected non-citizen voters to local



                                                 3
            Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 4 of 18




election officials. The Office of the Attorney General sent a similar notice on September 14, 2021,

indicating that the Secretary would send records to local election officials on a weekly basis.

          On August 27, 2021, Plaintiffs sent a letter to the Secretary seeking:

               The list of all 11,197 registrants your office identified as potential non-U.S.
          citizens, including the date each individual registered to vote, the effective date of
          each individual's voter registration; the date each individual provided
          documentation to DPS, the issuance date of each individual's current driver's
          license or personal identification; the documents provided to DPS showing proof
          of lawful presence but not U.S. Citizenship; and the voting history of each of these
          individuals.

Plaintiffs sent a second request on October 20, 2021, seeking the list of 49 registrants identified in

the Secretary's first three weeks of the weekly updates to local election officials. In total, Plaintiffs

requested records for 11,246 suspected non-citizen voters (the "Records").

          Plaintiffs requested the Records pursuant to the Act, which requires the Secretary to

"maintain . . . and [] make available for public inspection . . . all records concerning the

implementation of programs and activities conducted for the purpose of ensuring the accuracy and

currency of official lists of eligible voters." 52 U.S.C. § 20507(i)(1). The Act creates a private

right of action for those "aggrieved by a violation of [the Act]." 52 U.S.C. § 205 10(b).

          The Secretary responded to Plaintiffs' first request on September 14, 2021, arguing that

the Texas Public Information Act controls and asking Plaintiffs to clarify certain aspects of the

request. The Secretary sent Plaintiffs a second letter on November 3, 2021, asserting that the Texas

Public Information Act protects the Records from disclosure. See Tex. Gov't Code Ann. § 552.00 1

et seq.


          Around the same time, Plaintiffs made similar records requests to individual counties. The

record before the court includes localized lists of suspected non-citizen voters from election

officials in Tarrant County, Travis County, and Collin County, which the officials sent to Plaintiffs
          Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 5 of 18




in January and February of 2022. The lists show that the Secretary's new program continues to

flag eligible voters as suspected non-citizens: in Tarrant County, at least 119 of the 675 suspected

non-citizen voters provided documentation confirming citizenship. Likewise, 93 of the 385

suspected non-citizen voters in Travis County provided proof of citizenship, and 88 of the 302

suspected non-citizen voters in Collin County provided proof of citizenship.

        Plaintiffs sue the Secretary under the Act, requesting declaratory and injunctive relief, as

well as attorney's fees and costs. See 52 U.S.C. § 20510(b), (c). Specifically, Plaintiffs request

"[Rjecords showing every individual identified. . . as a potential non-U.S. citizen based on driver's

license and identification information from [DPS], as well as the information upon which the

Secretary of State relied to make a determination about each voter's citizenship status." Following

trial, Plaintiffs submitted a proposed order (Doc. #52-1) requesting an injunction that orders the

Secretary to provide the following information for the 11,246 suspected non-citizen voters (the

"Request"):

   a. Voter name (first, middle, last, suffix)
   b. Residential address (street number and name, apartment number, city, state, zip
      code, county)
   c. Mailing address, if different
   d. Date of birth
   e. Phone number
   f. Email address
   g. Voter Identification Number
   h. Date of voter registration application
   i. Effective date of voter registration
   j. Status of voter registration
   k. Any known prior voter registration statuses and dates of changes in voter
      registration status
   1. All known voting history
   m. Issuance date of current driver's license, personal identification, or election
      identification certificate
   n. Date on which individual provided the DPS with documentation indicating lawful
      presence but not U.S. citizenship, if known
   o. Documents provided to DPS on the date indicated in subsection (n) above
      indicating proof of lawful presence but not U.S. citizenship, if known
          Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 6 of 18




    p. All other information about these individuals within Texas's electronic voter
        registration database.

        The court will first address the Secretary's jurisdictional and threshold arguments that the

Secretary has not violated the Act in refusing to disclose the Records. After disposing of these

arguments, the court will grant Plaintiffs' motion and render a mandatory injunction ordering the

Secretary to release letters (a), (g), (h), (i), (j), (k), (1), (m), and (n) of Plaintiffs' Request, subject

to certain limitations that the court will outline by separate order.

                                         II.     JURISDICTION

        The Secretary first argues that the court cannot decide this case on the merits because

Plaintiffs lack standing. The Secretary argues that Plaintiffs have not shown sufficient record

evidence satisfying the injury-in-fact requirement. Plaintiffs respond that the Act's private right

of action for enforcing the public-disclosure provision gives Plaintiffs standing.

        Article III of the Constitution limits a federal court's jurisdiction to cases or controversies.

U.S. CONST. art. III, § 2.   Standing is a doctrine rooted in the traditional understanding of a case or

controversy. Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). A plaintiff must have standing for

a district court to have jurisdiction over the case. Id. The Supreme Court has identified three

constitutional standing requirements: injury-in-fact, causation, and redressability. Id.; Lujan v.

Defenders of Wild!ife, 504 U.S. 555, 560-6 1 (1992).

       For a plaintiff to satisfy the injury-in-fact requirement, she must show that the injury is

"concrete, particularized, and actual or imminent." Trans Union LLC v. Ramirez, 141 5. Ct. 2190,

2203 (2021). A plaintiff can show a concrete "informational injury" when a defendant fails to


           The parties inform the court that on or about June 24, 2022, the Secretary provided
Plaintiffs with information pertaining to letters (h) through (n) of Plaintiffs' request without
"mak[ing] any concessions about the merits of this case or waiv[ing] any [1 arguments." The
Secretary further advises the court that the information in letters (m) and (n) are the same in the
Records and that the Records do not include the information requested in letter (o).
          Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 7 of 18




produce information subject to public disclosure. Id. at 2214; Federal Election Comm 'n v. Akins,

524 U.S. 11, 24-25 (1998).        A plaintiff must show that an informational injury involves

"downstream consequences," which include adverse effects related to the information deficit.

TransUnion, 141 S. Ct. at 2214.

        The court agrees with Plaintiffs that the evidence demonstrates a concrete "informational

injury" with "downstream consequences" sufficient to satisfy Article III's standing requirements.

The Act imposes a public-disclosure requirement for certain information and creates a private right

of action for violations of this requirement. See id. at 2204-05 (Congress's decision to grant cause

of action to sue over statutory obligation is "instructive" when evaluating injury-in-fact

requirement). Plaintiffs also demonstrate that the Secretary's refusal to disclose the Records has

resulted in adverse "downstream consequences," including the lack of opportunity for Plaintiffs to

identify eligible voters improperly flagged in the database. The court has jurisdiction over this

cause because Plaintiffs have established standing and Plaintiffs' claims arise under the laws of

the United States. See 28 U.S.C. § 1331.

                                          III.    ANALYSIS

       Plaintiffs argue that the Act requires the Secretary to release the Records. The Secretary

argues that (1) the Act does not require disclosure of "privileged information regarding pending

law-enforcement investigations"; (2) the Driver's Privacy Protection Act prevents the Secretary

from releasing the Records to Plaintiffs; (3) the Act does not require the Secretary to electronically

transmit the Records to Plaintiffs; and (4) the Act's public-disclosure provision is unconstitutional

because it violates the anti-commandeering doctrine.




                                                  7
             Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 8 of 18




A.         Investigative privilege

           The Secretary first argues that the Act does not require disclosure of "confidential,

privileged information regarding pending law-enforcement investigations." The Secretary argues

that the Records include names, addresses, and other identifying information for individuals that

the Secretary suspects of violating Texas's requirement that a registered voter be a United States

citizen.     See Tex. Elec. Code Ann.       §   13.001(a)(2).   Knowingly or intentionally falsifying

information on a voter registration applicationincluding citizenship statusconstitutes a

criminal offense in Texas. Tex. Elec. Code Ann. § 13.007. The Secretary argues that the Records

are "part of [the Secretary's] ongoing review into whether to refer matters to the Attorney General"

and therefore the "investigative privilege" protects the information from disclosure. Plaintiffs

respond that the Secretary's office uses the Records to aid local election officials in maintaining

the voter rolls, not to trigger criminal investigations.

           The Act does not discuss if, or to what extent, a state voting agency may withhold or redact

otherwise disclosable voter-roll-maintenance            data based on investigative privilege or

confidentiality concerns. See 52 U.S.C. § 20501 et seq. However, as the Secretary points out, the

Fifth Circuit recognizes "a qualified privilege protecting investigative files in an ongoing criminal

investigation." In re US. Dep 't of Homeland Sec., 459 F.3d 565, 569 (5th Cir. 2006) (quoting

Coughlin v. Lee, 946 F.2d 1152, 1159 (5th Cir.1991)). Importantly, this privilege is "qualified"

and relates only to "ongoing criminal investigation[s]." Id. In naming types of information that

"probably would not be protected," the circuit explicitly included "documents pertaining to .

people who merely are suspected of a violation without being part of an ongoing criminal

investigation." Id. at 571 (emphasis added). Brian Keith Ingram, the Director of the Elections

Division at the Secretary's office, testified that "[a] person's mere presence [in] the [Records] does
          Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 9 of 18




not by itself prove that the person is a non-citizen or that the person engaged in criminal conduct."

Ingram further testified that the Secretary "has not yet referred any voter records from the initial

dataset or weekly files to the Aftorney General." The court agrees with Plaintiffs that the Records

do not relate to any "ongoing criminal investigations," but instead fall into the category of

"documents pertaining to . . . people who merely are suspected of a violation" that "probably

would not be protected" by any investigative privilege. See id. at 571.

       Both Plaintiffs and the Secretary direct the court to Public Interest Legal Foundation, Inc.

v. North Carolina State Board ofElections , arguing that the case supports their respective positions


on the issue of investigative privilege. 996 F.3d 257, 259(4th Cir. 2021). Public Interest addresses

a similar scenario where North Carolina implemented a program identifying "voter registrants.

[who] potentially fail[] to satisfy the statutory citizenship requirement." Id. After receiving a

records request pursuant to the Act, North Carolina refused to disclose the identities of the

suspected non-citizen voters, arguing in part that "the identity of any prior or current registrant.

may be subject to review by federal law enforcement." Id. at 262. In reversing the district court's

dismissal of the case, Public Interest recognized that the Act "does not require automatic disclosure

of all categories of documents" and instructed the lower court to "consider. . . whether and to what

extent the documents at issue should be kept confidential" in light of "the concerns of

confidentiality regarding criminal investigations." Id. at 264,266-67. Importantly, Public Interest

involved "grand jury investigations of 789 individuals statewide," which the circuit notes "may be

subject to a sealing order and may overlap with the documents requested [pursuant to the Act]."

Id. at 266-67. Public Interest ultimately instructed the lower court to "consider separately which

documents and information are subject to protection based on their relationship to ongoing

criminal investigations, and order redaction to protect exonerated potential noncitizens and their
             Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 10 of 18




sensitive information." Id. at 268. The court agrees with Plaintiffs that the existence of pending

criminal investigations distinguishes Public Interest from the case at issue, where the Secretary

has provided the court with testimony indicating that the Secretary's office has not referred any

individual identified in the Records to the Attorney General for criminal prosecution.

         Further undermining the Secretary's investigative-privilege argument is that fact that

Plaintiffs obtained information about individuals identified in the Records from Tarrant, Travis,

and Collin counties in January and February of 2022, after the Secretary had shared the Records

with local election officials. The datasheets that the county election officials provided Plaintiffs

contain identifying information for the suspected non-citizen voters, including names, voter

identification numbers, and, in the case of Tarrant County, voter addresses. It is not clear to the

court how the Secretary will "protect [the] confidential information" of the thousands of

individuals identified in the Records if this information can be obtained through local election

officials.

        The court rejects the argument that the Secretary can evade the Act's public-disclosure

provision under the guise of investigative privilege, especially when the Secretary's representative

has testified that no investigation currently exists. The court suspects that the Secretary's refusal

to disclose the Records has less to do with the interests of the individuals identified in the Records

and more to do with the Secretary's own interests.4

B.      Driver's Privacy Protection Act

        Next, the Secretary argues that the Driver's Privacy Protection Act (the "Driver's Act")

protects the Records from public disclosure. Plaintiffs respond that the Driver's Act authorizes


          When the "flawed results" of Whitley' s original program came to light in 2019, Whitley
publicly apologized "for the failure to seek confirmation of the accuracy, appropriateness,
competency, and due diligence of the process." Whitley, 2019 WL 7938511 at 1. Whitely
ultimately resigned as Texas Secretary of State following widespread criticism of the program.

                                                 10
          Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 11 of 18




disclosure of the Records through the statutory exception for "investigation in anticipation of

litigation."

        The Driver's Act broadly prevents disclosure of "personal information . . . about any

individual obtained by the department in connection with a motor vehicle record." 18 U.S.C. §

2721 (a)(1). "Personal information" includes "an individual's photograph, social security number,

driver identification number, name, address (but not the 5-digit zip code), telephone number, and

medical or disability information." 18 U.S.C. § 2725(3). The Secretary argues that because the

Records rely on information from DPS, the Driver's Act precludes the information from

disclosure.

        The Driver's Act sets out 14 circumstances where a state may permissibly disclose a

driver's personal information. See 18 U.S.C. § 272 1(b). One circumstance allows disclosure "[for

use in connection with any civil, criminal, administrative, or arbitral proceeding in any Federal,

State, or local court or agency or before any self-regulatory body, including the service of process,

investigation in anticipation of litigation, and the execution or enforcement of judgments and

orders, or pursuant to an order of a Federal, State, or local court."       18 U.S.C. § 2721(b)(4)

(emphasis added).     "Investigation in anticipation of litigation" is "best understood to allow

background research to determine whether there is a supportable theory for a complaint, a theory

sufficient to avoid sanctions for filing a frivolous lawsuit, or to locate witnesses for deposition or

trial testimony." Maracich v. Spears, 570 U.S. 48, 63-64 (2013).

        Plaintiffs argue that the "investigation in anticipation of litigation" exception applies

because Plaintiffs seek the Records to determine whether to sue to enforce the Settlement

Agreement. Alternatively, Plaintiffs argue that they seek the Records to determine whether to

bring an action alleging that the Secretary's new program unlawfully burdens the voting rights of



                                                 11
         Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 12 of 18




newly naturalized citizens. The court agrees with Plaintiffs that the Driver's Act allows for

disclosure under these circumstances. Also supporting this conclusion is the fact that courts have

interpreted the Act to require disclosure of voter-registration applications, many of which are

completed at motor vehicle offices "in connection with a motor vehicle record." See Public

Interest, 996 F.3d at 265 ("voter registration applications generally are subject to disclosure under

[the Act]"). The court concludes that the Driver's Act does not prevent the Secretary from

producing the Records.

C.     Transmitting electronic records

       Next, the Secretary argues that the Act does not require the Secretary to electronically

transmit the Records to Plaintiffs. Under the Secretary's logic, Plaintiffs did not make a valid

request for records under the Act because Plaintiffs did not explicitly ask to "inspect" or

"photocopy" the Records. See 52 U.S.C. § 20507(i)(1) (requiring state election agency to "make

available for public inspection and, where available, photocopying at a reasonable cost, all records

concerning [voter-roll-maintenance activities]"). The Secretary argues that because Plaintiffs

requested that the Secretary transmit the records "electronically by email . . . or FTP transfer if

available," Plaintiffs did not provide valid notice under the Act. The Secretary provides no

authority to support this cramped view of the Act's public-disclosure provision. At trial, the

Secretary's attorneys noted that the Secretary keeps the Records in an electronic database through

a third-party vendor, so it is unclear to the court how Plaintiffs might "inspect" or "photocopy"

such a database. Courts addressing similar claims regularly presume that meaningful public

disclosure entails electronic production of the documents at issue. See, e.g., Project Vote, Inc. v.

Kemp, 208 F. Supp. 3d 1320, 1336 (N.D. Ga. 2016) (holding that Act's public-disclosure

requirement applies to electronic records); True the Vote v. Hosemann, 43 F. Supp. 3d 693, 724



                                                 12
         Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 13 of 18




(S.D. Miss. 2014) (finding Act's disclosure requirement satisfied upon state's production of

electronic voter rolls). The court rejects the Secretary's interpretation of the Act.

D.     Anti-commandeering doctrine

        Finally, the Secretary argues that the Act's public-disclosure provision violates the

anticommandeering doctrine and is therefore unconstitutional. See U.S. CONST. amend. X ("The

powers not delegated to the United States by the Constitution, nor prohibited by it to the States,

are reserved to the States respectively, or to the people."). Plaintiffs respond that the public-

disclosure provision constitutes a valid exercise of Congressional power under the Times, Places,

and Manner Clause. See U.S. CONST. Art. 1 § 4, cl. 1 ("The Times, Places and Manner of holding

Elections.. . shall be prescribed in each State. . . but the Congress may at any time by Law make

or alter such Regulations").5

        "The anticommandeering doctrine. . . is simply the expression of a fundamental structural

decision incorporated into the Constitution, i.e., the decision to withhold from Congress the power

to issue orders directly to the States." Murphy v. Nat '1 Collegiate Athletic Ass 'n, 138 5. Ct. 1461,

1475 (2018). The anticommandeering doctrine prohibits Congress from "conscripting [a] State's

officers" to enforce a federal statute. Printz v. United States, 521 U.S. 898, 935 (1997). However,

the anticommandeering doctrine does not render a statute unconstitutional if the Constitution




           On April 13, 2022, the Secretary filed and served a Notice of Constitutional Challenge
to a Statute (Doc. #32), notifying the Office of the Aftorney General of the United States that a
federal statute had been challenged in this case. See FED. R. Civ. P. 5.1. The United States filed
an Acknowledgement of Defendant's Notice of Constitutional Challenge on June 9, 2022, noting
that "it is not clear whether the Court will need to reach the constitutional question in order to
resolve this case. . . . [T]he United States has concluded that a decision on whether to intervene
in this case would be premature at this time." Because the court will reject the Secretary's
constitutional argument, the United States need not intervene in this action. See FED. R. Civ. P.
5.1(c) ("Before the time to intervene expires, the court may reject the constitutional challenge").


                                                  13
          Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 14 of 18




otherwise "empowers Congress to impose on the states []the burden at issue." Voting Rts. Coal.

v. Wilson, 60 F.3d 1411, 1415 (9th Cir. 1995).


        Courts have held that the Act constitutes a valid exercise of Congressional power under the

Times, Places, and Manner Clause and therefore does not violate the anticommandeering doctrine.

See, e.g., Ass 'n of Cmty. Organizations for Reform Now v. Miller, 129 F.3d 833, 836 (6th Cir.

1997) (rejecting anticommandeering challenge to Act because "[the Times, Places, and Manner

Clause] specifically grants Congress the authority to force states to alter their regulations regarding

federal elections"); Ass 'n of Cmty. Organizations for Reform Now (ACORN) v. Edgar, 56 F.3d

791, 793 (7th Cir. 1995) (concluding that Actincluding provisions related to voter registration

is valid exercise of Congressional power under Times, Places, and Manner Clause); Wilson, 60

F.3d at 1414 (holding Act constitutional under "broad power" granted to Congress under Times,

Places, and Manner Clause). The Secretary admits that this line of cases "can complicate the

application of the anticommandeering doctrine." The Secretary instead directs the court to section

of Branch v. Smith that, as the Secretary points out, lacked approval from a majority of the Court.

538 U.S. 254, 280 (2003) (plurality op.). The Secretary relies on Branch to argue that Congress

may constitutionally legislate under the Times, Places, and Manner Clause only when a state has

"defaulted on any obligation[]" related to federal elections.       The court finds the Secretary's

argument unpersuasive and contradictory to a large body of authority upholding the Act as

constitutional. See, e.g., ACORN, 56 F.3d 791 at 794 ("Even when there is no abuse, as we have

seen, Congress can. . . regulate federal elections and force the state to bear the expense of the

regulation.").

        Alternatively, the Secretary argues that the Act's public-disclosure provision is not a

regulation of the time, place, or manner of holding an election. The Secretary does not provide



                                                  14
         Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 15 of 18




authority to support this position, but instead informs the court that "{t]he Framers understood [the

word "manner"] as referring to the procedures for holding an election." Under the Secretary's

logic, the public-disclosure provision does not constitute a procedure for holding an election.

Plaintiffs respond that Congress's power to regulate elections necessarily includes the power to

enforce these regulations. See Exparte Siebold, 100 U.S. 371, 387 (1879) (holding, in context of

federal voting regulations, "it cannot be disputed that if Congress has power to make regulations

it must have the power to enforce them"). The court agrees with Plaintiffs. The public-disclosure

provision aims to hold states accountable for complying with the Act. See Project Vote/Votingfor

Am., Inc. v. Long, 682 F.3d 331, 334-35 (4th Cir. 2012) (holding that Act's public-disclosure

provision "embodies Congress's conviction that Americans who are eligible under law to vote

have every right to exercise their franchise, a right that must not be sacrificed to administrative

chicanery, oversights, or inefficiencies."). The court concludes that the Act and, in particular, the

public-disclosure provision, constitutes a valid exercise of Congressional power under the Times,

Places, and Manner Clause.

E.     Injunctive relief

       Having rejected the Secretary's threshold arguments, the court will turn to Plaintiffs'

request for injunctive relief. A party seeking an injunction must show: (1) success on the merits;

(2) that a failure to grant the injunction will result in irreparable injury; (3) that said injury

outweighs any damage that the injunction will cause the opposing party; and (4) that the injunction

will not disserve the public interest. Environment Tex. Citizen Lobby, Inc. v. ExxonMobil Corp.,

824 F.3d 507, 533 (5th Cir. 2016).

       First, Plaintiffs have succeeded on the merits. The records requests that Plaintiffs made to

the Secretary on August 27, 2021, and October 20, 2021, properly invoke the public-disclosure



                                                 15
         Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 16 of 18




provision of the Act. See 52 U.S.C. § 20507(i). Plaintiffs satisfied the Act's notice requirements

before filing suit. See 52 U.S.C. § 20510(b). The Secretary's refusal to disclose the Records

violates the Act. See 52 u.s.c. § 20507(i).

       Second, Plaintiffs have demonstrated that failure to grant the injunction will result in

irreparable injury. The Act's public-disclosure provision serves as a tool to carry out the Act's

stated purposes, which include "protect[ing] the integrity of the electoral process," "enhanc[ing]

the participation of eligible citizens as voters in elections for Federal office," and "ensur[ing] that

accurate and current voter registration rolls are maintained." See 52 U.S.C. § 20501(b). The

Secretary's refusal to disclose the information irreparably injures Plaintiffs' ability to inspect the

Records for accuracy and legality. See Project Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320, 1350

(N.D. Ga. 2016) (state's refusal to disclosure records under the Act constituted irreparable harm).

       Third, Plaintiffs have demonstrated that the injury stemming from the State's refusal to

disclose the Records outweighs any damage that the injunction will cause the Secretary. Other

than the Secretary's argument related to privacy concerns for individuals identified in the Records,

the Secretary does not indicate that an injunction would damage the Secretary. The court finds the

Secretary's privacy arguments unpersuasive because the information at issue exists in Texas's

public voter records. Plaintiffs also demonstrated that portions of the Records can be obtained

through local election officials. The injury related to the Secretary's refusal to produce the Records

outweighs any damage that an injunction will cause the Secretary.

       Finally, Plaintiffs have demonstrated that the injunction will not disserve the public

interest. Voting is a rightand a source of powerbestowed upon citizens of the United States.

The Act aims to increase the number of citizens who register to vote while balancing the need for

accurate and current voter registration rolls. See 52 U.S.C. § 2050 1(b). The public-disclosure



                                                  16
         Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 17 of 18




provision provides an additional layer of oversight and transparency.                Considering the

shortcomings of the Secretary's previous program, additional oversight and transparency will

greatly serve the public interest. The court finds and concludes that Plaintiffs are entitled to

mandatory-injunctive relief on their claim that the Secretary violated the Act.

       In awarding mandatory-injunctive relief, the court will order the Secretary to release the

following information from Plaintiffs' Request: (a) voter name (first, middle, last, suffix); (g) voter

identification number; (h) date of voter registration application; (i) effective date of voter

registration; (j) status of voter registration; (k) any prior voter registration statuses and dates of

changes in voter registration status; (1) all voting history; (m) issuance date of current driver's

license, personal dentification, or election identification certificate; and (n) date on which

individual provided DPS with documentation. The court agrees with the Secretary that items (b)

through (f) and item (p) of Plaintiffs' Request fall outside the bounds of Plaintiffs' original records

requests on August 27, 2021, and October 20, 2021. These items also go beyond the relief sought

in Plaintiffs' complaint. The court accepts as true the Secretary's statement that the Secretary's

Records do not include the information requested in item (o) and that items (m) and (n) reflect

duplicative information. The court will describe the mandatory-injunctive relief in further detail

by separate order.




                                                  17
         Case 1:22-cv-00092-LY Document 55 Filed 08/02/22 Page 18 of 18




                                       IV.    CONCLUSION

       IT IS ORDERED that Plaintiffs' Rule 65 Motion for Preliminary Injunction and to

Consolidate Preliminary Injunction Hearing with Trial on the Merits (Doc. #20) is GRANTED

AS FOLLOWS: the court concludes that the Secretary violated the Act in refusing to disclose

the Records upon Plaintiffs' requests. The court will award declaratory and mandatory-injunctive

relief and render final judgment by separate order.

       SIGNED this                  day of August, 2022.




                                             LEEftEAKEL f             1
                                             UNItI'ED STATES DISTRICT JUDGE




                                                18
